                                                         Electronically Filed
                                                         Supreme Court
                                                         SCWC-11-0000813
                                                         11-FEB-2013
                                                         01:25 PM



                           SCWC-11-0000813

           IN THE SUPREME COURT OF THE STATE OF HAWAI#I


         STATE OF HAWAI#I, Respondent/Plaintiff-Appellee,

                                 vs.

     SIMBRALYNN L. KANAKA#OLE, Petitioner/Defendant-Appellant.


          CERTIORARI TO THE INTERMEDIATE COURT OF APPEALS
               (CAAP-11-0000813; FC-CR NO. 10-1-0246)

        ORDER REJECTING APPLICATION FOR WRIT OF CERTIORARI
(By: Recktenwald, C.J., Nakayama, Acoba, McKenna, and Pollack, JJ.)

           Petitioner/Defendant-Appellant’s application for writ

 of certiorari filed on December 28, 2012, is hereby rejected.

           DATED:   Honolulu, Hawai#i, February 11, 2013.

 Gary C. Zamber                        /s/ Mark E. Recktenwald
 for petitioner
                                       /s/ Paula A. Nakayama

                                       /s/ Simeon R. Acoba, Jr.

                                       /s/ Sabrina S. McKenna

                                       /s/ Richard W. Pollack
